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Of Attorneys for Plaintiff



               UNITED STATES DISTRICT COURT

                      DISTRICT OF OREGON

                       PORTLAND DIVISION



TIM CARR                              Case No. 3:20-cv-01349-SI

                   Plaintiff          STIPULATION OF
                                      DISMISSAL
      vs

WALGREEN CO.

                   Defendant




STIPULATION OF DISMISSAL – Page 1 of 3
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                  STIPULATION OF DISMISSAL

      Under FRCP 41 the parties stipulate that this action is dismissed

with prejudice and without award of costs or attorney fees or expenses

to any party.


STIPULATED TO BY:


s/ Michael Fuller
Michael Fuller
Of Attorneys for Plaintiff


s/ Tim Snider
Tim Snider
Of Attorneys for Defendant


February 20, 2021


                                 RESPECTFULLY FILED,

                                 s/ Michael Fuller
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                    CERTIFICATE OF SERVICE


I certify that I caused this document to be served on the parties to this
action through the CM/ECF system.


February 20, 2021

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